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              IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF TEXAS
                         MCALLEN DIVISION
MIGUEL RODRIGUEZ,               §
                                §
              Plaintiff,        §
                                §
v.                              §
                                §       CIVIL ACTION NO. 7:17-CV-00158
STANDARD GUARANTY INSURANCE     §
COMPANY,                        §
                                §
              Defendant.        §

                       JOINT NOTICE OF SETTLEMENT AND
                    MOTION TO CONTINUE PRETRIAL DEADLINES

       Plaintiff Miguel Rodriguez and Defendant Standard Guaranty Insurance Company (the

“Parties”) file this Joint Notice of Settlement and Motion to Continue the Pretrial Deadlines as

follows:

       The parties recently reached a settlement in principle related to all matters raised in this

lawsuit, and request that the Court continue the Deadline to file a Joint Pretrial Order, currently

scheduled for November 29, 2017, and the Pretrial Conference, currently scheduled for

December 6, 2017, for sixty (60) days so that the parties may properly prepare and execute a

final settlement agreement. The Parties anticipate filing a stipulation of dismissal in this matter

upon execution of the final settlement agreement.

                                                 Respectfully submitted,

                                                 /s/ Michael Lawrence w/ permission

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                                           ATTORNEYS FOR DEFENDANT

                               CERTIFICATE OF SERVICE

     I hereby certify that a true and correct copy of the foregoing has been served on
November 27, 2017, on the following counsel of record by the Court’s CM/ECF:
Larry Lawrence                             Dan Cartwright
Michael Lawrence                           Lory Sopchak
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                                      /s/ Pooneh A. Momeni

                                      Pooneh A. Momeni
